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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Chelsea E. MANNING,

Plaintiff, Case: 1:16-cv-02307

Assigned To : Cooper, Christopher R.
Assign. Date : 11/14/2016
Description: Pro Se Gen. Civil

V.

James R. CLAPPER, et al.
Defendants.

 

PLAINTIFF’S MOTION FOR THE APPOINTMENT OF COUNSEL

The Plaintiff, Chelsea E. Manning, moves the Court to appoint counsel to represent her in
this case for the following reasons.

1, The issues in this case involve classified information and documents in the
interest of national security, and will require access to such information and documents.

2. The issues in this case are complex, novel, obscure and will require specialize
legal knowledge and experience.

3. The Plaintiff is unable to articulate her theory of the case, or her understanding of
the case, without disclosing classified information, that would normally be protected by attorney-
client privilege, in possession of the Plaintiff to any prospective legal counsel.

4. This case will likely have many ex parte filings, protective orders, discovery,
depositions, and require sophisticated evidence collection. The Plaintiff is currently incarcerated
at a military prison, and therefore it is difficult or impossible for her to handle these matters on
her own,

Ds The conflicting and varied evidence and testimony in this case requires extensive

witness preparation, and cross examination will be vital for presenting the Plaintiff's case.

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In support of this application, the Plaintiff respectfully refers the Court to the Complaint,
the Memorandum in Support of Plaintiff's Motion for the Appointment of Counsel, the
Plaintiffs Motion for a Protective Order, the Plaintiff's Declaration of Chelsea E. Manning in
Support of a Protective Order, and the Declaration of Chelsea E. Manning in Support of the
Plaintiffs Motion for the Appointment of Counsel.

A proposed order is attached.

WHEREFORE, this Court should appoint counsel to represent the Plaintiff in this matter.

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CHELSEA E. MANNING )
Pro se

1300 North Warehouse Road,

Fort Leavenworth, KS 66027-2304

November 15", 2016
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Chelsea E. MANNING,
Plaintiff,

Vv. Civil Action No.

James R. CLAPPER, ef al.,
Defendants.

 

MEMORANDUM IN SUPPORT OF THE PLAINTIFF’S
MOTION FOR THE APPOINTMENT OF COUNSEL

Statement of the Case
The Plaintiff alleges that the Defendants conducted clandestine and intrusive electronic
surveillance and physical searches violating multiple rights of the Plaintiff as protected by the
US. Constitution. The Plaintiff seeks declaratory and injunctive relief to remedy the violations
of her rights guaranteed by the U.S. Constitution.
Statement of the Facts
In the Complaint, the Plaintiff alleges that the Defendants have conducted, and are
conducting, clandestine and intrusive electronic surveillance and physical searches involving the
Plaintiff without valid grounds or reasonable probable cause. The Plaintiff also contends that the
Defendants are using unorthodox methods to conduct the electronic surveillance and physical
searches, including computer network exploitation of personal computers and handheld
communication devices, and the simulation of a terrorist attack, kidnapping, and hostage

situation involving the Plaintiff.
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ARGUMENT
The All Writs Act

1, Under the All Writs Act this Court has the authority to “issue all writs necessary
or appropriate in aid of [its] jurisdictions,” 28 U.S.C. § 1651(a). The U.S. Supreme Court “has
repeatedly recognized the power of a federal court to issue such commands under the All Wrils
Act as may be necessary or appropriate to effectuate and prevent the frustration of orders it has
previously issued in its exercise of jurisdiction otherwise obtained.” United States v. New York
Tel. Co., 434 U.S. 159, 172, 98 S. Ct. 364, 54 L. Ed. 2d 376 (1977).

2. In circumstances where this Court is not “confined by Congress,” than the Court
“may avail itself of all auxiliary writs as aids in the performance of its duties, when the use of
such historic aids is calculated in its sound judgment to achieve the ends of justice entrusted to
it.” Id., at 172-73; see also Douglas Timber Operators, Inc. v. Salazar, 831 F. Supp. 2d 285, at
289-290 (D.C.D.C. 2011).

3. Historically, the All Writs Act “has been applied ‘flexibly,’” by this Court. Id.
(citing New York Tel. Co.).

Unique and Unprecedented Circumstances

4, The matter currently before the Court is unique. It is perhaps even
unprecedented.
5). This case is complex, involves national security matters, classified information

and documents, ex parte filings, and numerous Defendants—each with a different role in the
Plaintiff's claims.
6. The Plaintiff's claims also involve controversial statutes under Titles I and III of

the Foreign Intelligence Surveillance Act of 1978, as amended, 50 U.S.C. §§ 1801 et seq.
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This Action Involves Classified Information and Documents

7. The Plaintiffs theory of the case and her understanding of the facts in this case
require her to disclose classified information to legal counsel in order for them to grasp the
merits of the case.

8. The issues in the entire case require classified information and documents that are
protected in the interest of national security. Both the Plaintiff and the Defendants possess
classified information that is relevant to this case. Additionally, the Defendants possess
documents and records that are classified pursuant to Exec. Order 13526 and its predecessors.

Plaintiff is Unable to Consult with any Legal Counsel

9. Against her intentions, the Plaintiff has been forced by these circumstances to file
this action pro se.

10. The Plaintiff is currently an inmate at a military prison. However, this is a case
involving FISA, 50 U.S.C. §§ 1801 et seg., and not a prison conditions case. Therefore, the
existing rules and statutes regarding the appointment of counsel do not apply to her. See 28
ULS.C. § 1915.

11. The Plaintiff in this case cannot in good faith argue that she is indigent. The
Plaintiff has the financial means to obtain legal counsel.

12. The Plaintiff already has legal counsel in other separate matters. This includes a
court-martial appeal, United States v. Private First Class Chelsea E. Manning (A.C.C.A. Case
No. 20130739), and two other civil actions in this District, Chelsea Manning v. Dep’t of Justice
(D.C.D.C., Civ. No. 15-CV-@U54-APM); Chelsea Manning v. Carter (D.C.D.C. Civ. No. 14-CV-

01609-CKK).
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13. | However, what complicates this case is that the Plaintiff lacks the means or
authorization to communicate meaningfully with anyone—let alone prospective legal counsel—
about the merits of her case. This creates an untenable “catch-22” situation for the Plaintiff.

14. The Plaintiff contends that her rights are being violated by the Defendants and
wishes to seek redress. Unfortunately, the Plaintiff's knowledge and understanding of these
violations are based on justifiably classified information and documents. Therefore the Plaintiff
cannot consult with any legal counsel without permission.

15. So, where does the Plaintiff go to receive authorization to discuss classified
information with legal counsel? The Plaintiff believes there is an answer to that question.

The Court Should Appoint Temporary Counsel
Jor the Plaintiff under the All Writs Act

16. =‘ The Plaintiff contends that this Court should provide the Plaintiff with temporary
counsel in conjunction with the Plaintiff's Motion for a Protective Order.

17. The Plaintiff also contends that this Court is vested with the power to enact a
temporary appointment of counsel under the All Writs Act, 28 U.S.C. § 1651(a), as this Court is
not presently “confined by Congress.” New York Tel. Co., 434 U.S. 159, 172-173. The Court is
entrusted with the “sound judgment to achieve the ends of justice,” and “may avail itself of all
auxiliary writs as aids in the performance of its duties.” Jd., at 172-73; see also Douglas Timber
Operators, Inc. v. Salazar, 831 F. Supp. 2d 285, at 289-290 (D.C.D.C. 2011).

18. Allowing the Plaintiff to articulate her theory of the case and determine how to
proceed with the case further will benefit the Plaintiff, the Defendants, and this Court, and would

further the ends of justice in this matter.
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Conclusion

For the foregoing reasons, this court should grant the Plaintiff's motion and temporarily

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CHELSEA E. MANNING

Plaintiff, pro se

1300 North Warehouse Road

Fort Leavenworth, Kansas 66027-2304

appoint counsel to the Plaintiff in this case.

~ “November 15"; 2016
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Chelsea E. MANNING,
Plaintiff,

Vv. Civil Action No.

James R. CLAPPER, et al.
Defendants.

 

DECLARATION OF CHELSEA E. MANNING
IN SUPPORT OF THE PLAINTIFF’S MOTION
FOR THE APPOINTMENT OF COUNSEL

1. I, the undersigned declarant, Chelsea E. Manning, hereby state the following in
support of this motion for the appointment of counsel.

2. The complaint in this case alleges that the Defendants in this matter conducted
clandestine and intrusive electronic surveillance and physical searches involving the Plaintiff
without valid grounds or reasonable probable cause. The complaint also alleges that the
Defendants used unorthodox means to conduct the electronic surveillance and physical searches,
including computer network exploitation of personal computers and handheld communication
devices, and simulating a terrorist attack, kidnapping, and hostage situation.

3. This is a very complex case because it involves classified information and
documents protected in the interest of national security, contains numerous legal claims, some of
which involve complex and unique legal theories, and involves obscure federal statutes.

4. The case involves issues that will require expert consultants and expert testimony.

5. This matter will likely require discovery of documents under a protective Order,

ex parte filings, and an in camera review by the Court. Nii Hava

 
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6. The evidence and testimony in this matter will be in stark conflict, as the Plaintiff
alleges that numerous constitutional rights were violated, while the defendants will deny that any
events occurred.

7. The Plaintiff is confined at a military prison in Kansas, and will have limited
access to legal materials, and lacks meaningful ability to investigate the facts of the case,
particularly in light of the involvement of classified information and documents.

8. As set forth in the Memorandum in Support of Plaintiff's Motion for the
Appointment of Counsel, these facts, along with the merit of Plaintiff's claims, support the
appointment of counsel to represent the Plaintiff.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

WHEREFORE, this Court should grant the Plaintiff's Motion for the Appointment of

Counsel in this matter.

Executed: November 15", 2016

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CHELSEA E. MANNING L-
Pro se

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Fort Leavenworth, KS 66027-2304
